UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA Order Modifying Bail Conditions
v. 22 Cr. 105 (DLC)
JAMES VELISSARIS,

Defendant.

 

 

DENISE L. COTE, District Judge:

WHEREAS, on or about February 16, 2022, the defendant was charged in a six-count
Indictment (the “Indictment”);

WHEREAS, on February 25, 2022, the Court set bail conditions for the defendant’s pretrial
release (the “February 25 Order”) (Dkt. 13);

WHEREAS, on November 21, 2022, the defendant pled guilty to the crime of securities
fraud charged in Count One of the Indictment,

WHEREAS, following the entry of the defendant’s guilty plea, the Government made an
oral application to the Court, with the defendant’s consent, for the imposition of home detention
as an additional bail condition, to be enforced by location monitoring at the discretion of Pretrial
Services;

It is hereby ORDERED that:

1. The defendant shall be subject to home detention, to be enforced by location monitoring

technology at the discretion of Pretrial Services;

2. Any location monitoring equipment may be self-installed at the discretion of Pretrial

Services; and

 

 
 

3. All other bail conditions set forth in the February 25 Bail Order shall remain

 

unchanged.
Dated: New York, New York /) ¢ JN
November 27,2022 /! apt. Lo he

THE HONQRABLE DENISE COTE
UNITED STATES DISTRICT JUDGE
